






Opinion issued September 20, 2007

     













In The

Court of Appeals

For The

First District of Texas






NO. 01-07-00746-CV






IN RE AMERICAN LIFT &amp; EQUIPMENT, INC., Relator






Original Proceeding on Petition for Writ of Mandamus






MEMORANDUM  OPINION


	By petition for writ of mandamus, relator, American Lift &amp; Equipment, Inc.,
challenges the trial court's (1) August 28, 2007 order granting a mistrial.  

	We deny the petition for writ of mandamus.

	PER CURIAM



Panel consists of Justices Nuchia, Jennings, and Keyes.

	

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